                    Case 2:24-mj-00689-JHE Document 1-1 Filed 10/29/24 Page 1 of 10                                                                 FILED
                                                                                                                                           2024 Oct-30 PM 02:17
AO 91 (Rev. 11/11) Criminal Complaint                                                                                                      U.S. DISTRICT COURT
                                                                                                                                               N.D. OF ALABAMA

                                     UNITED STATES DISTRICT COURT
                                                                for the
                                                   Northern District of Alabama

                  United States of America                          )
                             v.                                     )
                   WISAM A. SHARIEFF
                                                                    )     Case No.
                                                                    )                24-689
                                                                    )
                                                                    )
                                                                    )
                          Defendant(s)


                                                 CRIMINAL COMPLAINT
         I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of               Sept. 27 - Oct. 15, 2024         in the county of                 Shelby                               in the
     Northern          District of           Alabama           , the defendant(s) violated:

            Code Section                                                     Offense Description
18 U.S.C. Section 2251(a) and (e)              Conspiracy to produce child pornography




         This criminal complaint is based on these facts:
Please see attached affidavit.




         ✔ Continued on the attached sheet.
         u

                                                                                                            Digitally signed by ERIC SALVADOR
                                                                            ERIC SALVADOR                   Date: 2024.10.29 14:30:35 -05'00'


                                                                                               Complainant’s signature

                                                                                             Eric C. Salvador, FBI SA
                                                                                                Printed name and title

Sworn to before me and signed in my presence.


Date:             10/29/2024
                                                                                                  Judge’s signature

City and state:                    Birmingham, Alabama                          John H. England, III, U.S. Magistrate Judge
                                                                                                Printed name and title
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           AFFIDAVIT IN SUPPORT OF CRIMINAL COMPLAINT

      I, Eric C. Salvador, being duly sworn, hereby depose and say:

                      Introduction and Agent Background

      1.     I am a Special Agent with the Federal Bureau of Investigation (FBI),

assigned to the Birmingham Division. I have been a Special Agent since March

2017 and am currently assigned to Squad 3 of the FBI’s Birmingham Division and

to the FBI Birmingham Division’s Child Exploitation and Human Trafficking Task

Force. My duties include investigations related to internet crimes involving

computers or electronic devices, child pornography, sexual exploitation of children,

human trafficking, and various other violent crimes against children. Prior to my

employment with the FBI, I was employed as a law enforcement officer by the State

of Alabama for about nine years.

      2.     My duties include the detection and investigation of alleged crimes,

including, but not limited to, investigating crimes against children and adults,

exploitation of children, and child pornography. I have received training in

investigative techniques involving computer-facilitated exploitation of children. I

have conducted numerous investigations of these types of crimes and have assisted

other law enforcement agents with investigations of this nature.

      3.     I make this affidavit in support of an application under Rules 3 and 4 of

the Federal Rules of Criminal Procedure for a warrant authorizing the arrest of

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Wisam A. SHARIEFF. As a Federal law enforcement officer, I am authorized to

execute arrest warrants under Rule 4(c)(1) of the Federal Rules of Criminal

Procedure.

      4.     The factual information supplied in this application and affidavit is

based upon my investigation and personal knowledge, information provided to me

by other law enforcement officials and witnesses, and information from records

checks conducted by law enforcement officials, support employees, and myself. I

have not included each and every fact known to me concerning this investigation;

however, I have not excluded any facts or circumstances that would tend to defeat

the establishment of probable cause. I have set forth only the facts that I believe are

necessary to establish probable cause to believe that SHARIEFF has violated 18

U.S.C. §§ 2251(a) and (e) (conspiracy to produce child pornography), and that,

accordingly, a Criminal Complaint should be issued for SHARIEFF.

      5.     I submit this affidavit in support of a criminal complaint charging

Wisam A. SHARIEFF with violating 18 U.S.C. §§ 2251(a) and (e) (conspiracy to

produce child pornography).

                               Statutory Authority

      6.     18. U.S.C. § 2251(a) makes it a federal crime for any person to employ,

use, persuade, induce, entice, or coerce a minor to engage in sexually explicit

conduct for the purpose of producing a visual depiction of the conduct, if the person

                                          2
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for SHARIEFF.

       11.    The caller reported seeing the messages between MV’s mother and

SHARIEFF in the Telegram Messenger Application.

       12.    The Telegram Messenger Application, commonly known as Telegram,

is a cloud-based, cross-platform, social media and instant messaging (IM) service.

Telegram allows users to exchange messages, share media and files, and hold private

and group voice or video calls. Telegram offers end-to-end encryption in voice and

video calls, and in optional private chats, which Telegram calls “Secret Chats.”

       13.    According to the AlMaghrib Institute, SHARIEFF is listed as a

specialist in teaching Quran recitation and retention, and he leads the Quran

Revolution program for the AlMaghrib Institute. SHARIEFF has taught over 25,000

students worldwide. 2 AlMagrhub Institute lists SHARIEFF as an Imam3 in his

biography online.

                                 PROBABLE CAUSE

       14.    On October 15, 2024, investigators with the Shelby County Sheriff’s

Office identified, located, and made contact with both MV and SUSPECT 2 at

                in Chelsea, Alabama, which is in the Northern District of Alabama.




2 https://www.almaghrib.org/instructors/wisam-sharieff/
3 Imam is typically used to describe an Islamic leadership position, such a prayer leader of a

mosque.
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Investigators identified MV as has having a date of birth of               .

      15.    In a post Miranda statement, SUSPECT 2 spoke at length about her

religion. SUSPECT 2 stated that SHARIEFF was her teacher in an online school

about the Quran. During her training, SHARIEFF told SUSPECT 2 that achieving

an orgasm would help her spiritually and allow her to communicate with Allah

better. SUSPECT 2 expressed interest in helping MV become closer to Allah as well.

      16.   SUSPECT 2 bought MV a vibrator sex toy and showed MV how to use

it on herself. SUSPECT 2 would stream adult pornography for MV to watch while

she was masturbating. MV learned how to use the toy on herself and SUSPECT 2

would film MV performing sexual acts on herself.

      17.   SUSPECT 2 would produce videos of SUSPECT 2 and MV performing

sexual acts on themselves and send them to SHARIEFF via the Telegram App, so

SHARIEFF could guide them and let them know how far they were progressing on

their quest to become closer to Allah.

      18.   Following the non-custodial interview of SUSPECT 2, multiple

electronic devices and sexual toys were seized from SUSPECT 2 and MV’s

residence                 .

      19.   On October 17, 2024, the Shelby County Circuit Court issued a search

warrant for SUSPECT 2’s electronic devices.

      20.   A forensic analysis was completed on SUSPECT 2’s electronic devices.

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A review of the forensic analysis revealed a private chat thread in the Telegram App

between SUSPECT 2 and Telegram User: “WISAM;” UEID: 1148073958;

Telephone Number:                 6195. Telegram User: WISAM’s profile picture was

a picture of SHARIEFF.

      21.       SUSPECT 2 was identified in the private Telegram chat thread as

Telegram User: HAMNA; UEID: 5944135648.

      22.       On October 25, 2024, AT&T provided a response to a previously issued

Administrative Subpoena requesting subscriber information for telephone number

            -6195. AT&T provided the following subscriber information:

                x     MSDIN:          -6195
                x     MSDIN Active: 07/06/2009 to Current
                x     Name: WISAM A SHARIEFF
                x     Address:                        Euless, Texas 76039
      23.       The private chat thread on Telegram began at or around September 27,

2024, at 12:20 PM CST and ended on or around October 15, 2024, at 2:27 PM CST.

      24.       Throughout the Telegram chat thread, MV is referred to as “Humma”

by both SHARIEFF and SUSPECT 2.

      25.       On or around October 8, 2024, the following conversation between

SHARIEFF and SUSPECT 2 occurred in the Telegram App:

            x        WISAM: You are special and safe with me your secrets, and our
                     family time is a secret
            x        WISAM: You’ve been lied to by men for so long it’s impossible
                     to believe someone truthful
            x        WISAM: When can papa work on Quran with humma
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     26.       On or around October 13, 2024, the following conversation between

SHARIEFF and SUSPECT 2 occurred in the Telegram App:

           x        WISAM: Posted the following video message:
                     o     Filename: telegram-cloud-document-1-
                     4927205019050050706
                     o     Length: 0:12 seconds
                     o     Descriptions: The video depicted SHARIEFF shirtless
                     and wearing headphones. In the video SHARIEFF stated the
                     following: Ah, I want to kiss Humma like that, (SHARIEFF
                     then makes kissing motions with his mouth and lips.
                     SHARIEFF begins to moan.) Are you two licking my Albo?
           x        HAMNA: Yes
           x        HAMNA: Here
           x        WISAM: Love you
           x        HAMNA: I popped
           x        HAMNA: Posted a series of video messages. A few of the video
                    messages can be described as the following:
                     o     Filename: telegram-cloud-document-1-
                     4927205019050050709
                     o     Length 0:17 seconds
                     o     Description: The video depicted MV nude and using a
                     sex toy on herself. MV is watching adult pornography on a
                     phone that is propped in front of her.
                     o     Filename: telegram-cloud-document-1-
                     4927205019050050710
                     o     Length: 0:25 seconds
                     o     Description: The video depicted MV nude, watching
                     adult pornography on a phone and utilizing a sex toy on herself.
           x        HAMNA: I get pleasure in imagining you with others
           x        WISAM: Replied to one of the previously posted videos: I love
                    the humma thought
           x        HAMNA: Yes
           x        WISAM: Posted the following video message:
                    o      Filename: telegram-cloud-document-1-
                    4927205019050050711

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                     o       Length: 0:18 seconds
                     o       Description: The video depicted SHARIEFF shirtless and
                     wearing headphones. In the video SHARIEFF stated the
                     following: Humma I do love watching, I love when you are
                     buzzing. Is it okay to see, while you buzz, even if you cum a little
                     bit in the video? We are all buzzing and stroking, it feels so
                     good.
      27.       A series of back-and-forth messages between SHARIEFF and

SUSPECT 2 occurred on October 13, 2024. Shortly thereafter, SHARIEFF posted

the following message to Telegram:

            x       WISAM:
                     o     Filename: telegram-cloud-document-1-
                    4927205019050050718
                     o     Length: 0:11 seconds
                     o     Description: The video depicted SHARIEFF shirtless and
                    wearing headphones. In the video SHARIEFF stated the
                    following: You can tell me on your phone, you are the brown. I
                    love you. You can tell me on your phone. Oh Humma! Humma,
                    humma, humma (SHARIEFF appeared to have an orgasm).
      28.       Throughout the course of the chats on Telegram. SHARIEFF and

SUSPECT 2 traded multiple video messages back and forth. Some of the video

messages sent by SUSPECT 2 contained videos of MV using a sex toy on herself.

SHARIEFF and SUSPECT 2 routinely traded links to adult pornography on the

internet and these links were used to show MV while she was utilizing the sex toy.

                                    CONCLUSION

      29.       Based on the foregoing, I have probable cause to believe that Wisam

A. SHARIEFF has committed the offense of conspiracy to produce child


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pornography, in violation of 18 U.S.C. §§ 2251(a) and (e), as charged in the

accompanying criminal complaint.

                           REQUST FOR SEALING

      31.   Your affiant further requests that the Court order that all papers in

support of this complaint, including the affidavit and the complaint, as well as any

arrest warrant that may be issued therefrom, be sealed until further order of the

Court. These documents discuss an ongoing criminal investigation that is neither

public nor known to the target of the investigation. Accordingly, there is a good

cause to seal these documents because their premature disclosure may seriously

jeopardize that investigation and officer safety.
                                                      ERIC SALVADOR Digitally signed by ERIC SALVADOR

                                                    ________________________
                                                                    Date: 2024.10.29 14:32:13 -05'00'



                                                    Eric C. Salvador,
                                                    Special Agent
                                                    Federal Bureau of Investigation

      Sworn to telephonically and subscribed electronically before me, this 29th
day of October 2024.

                                ____________________________________
                                John H. England, III
                                United States Magistrate Judge




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